      Case 2:17-cr-00189-WBS Document 40 Filed 04/17/18 Page 1 of 7

1

2

3

4

5

6

7

8                        UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

10                                ----oo0oo----

11

12   UNITED STATES OF AMERICA,              Crim. No.    2:17-0189 WBS
13                Plaintiff,

14        v.                                MEMORANDUM AND ORDER RE:
                                            MOTION TO DISMISS INDICTMENT
15   YAMA MARIFAT,                          AS VIOLATIVE OF THE STATUTE
                                            OF LIMITATIONS
16                Defendant.

17

18                                ----oo0oo----

19             Before the court is defendant Yama Marifat’s Motion to

20   Dismiss the Indictment as Violative of the Statute of Limitations

21   (Docket No. 20).1

22   I.   Procedural History

23             On March 7, 2011, in an earlier filed case, Crim. No.

24   2:11-39 WBS, defendant Yama Marifat entered a plea of guilty to

25   one count of conspiracy to rig bids in violation of 15 U.S.C. § 1

26   and one count of conspiracy to commit mail fraud in violation of

27        1
               Defendant also filed a Motion to Dismiss the Indictment
     as Insufficient (Docket No. 21), which is addressed in a separate
28   order.
                                     1
      Case 2:17-cr-00189-WBS Document 40 Filed 04/17/18 Page 2 of 7

1    18 U.S.C. § 1349.    (Docket No. 30 Ex. A.)      The plea was entered

2    pursuant to a plea agreement in which defendant agreed to waive

3    indictment by a grand jury and cooperate with the government.

4    (Docket No. 30 Exs. B, D.)     The court also verified with

5    defendant orally that he understood the right to an indictment

6    and that he wished to waive that right, and verified that

7    defendant had signed a formal waiver of indictment.         (Docket No.

8    30 Exs. B, C.)

9               More than six years later, the court allowed defendant

10   to withdraw his plea because the judge taking the plea did not

11   advise defendant of his rights to testify, take evidence, and

12   compel the attendance of witnesses, and therefore the plea

13   colloquy was deficient under Federal Rule of Criminal Procedure

14   11(b).    (Docket No. 30 Ex. E.)    The court later granted the

15   unopposed motion of defendant to dismiss the Information while

16   expressly stating that its ruling should not be construed as a

17   ruling on the merits of the motion, and the earlier-filed case

18   was closed.    (Crim. No. 2:11-39 Docket Nos. 113, 116.)

19              The government then initiated the instant case against

20   defendant, this time via an Indictment (Docket No. 1) which is
21   substantially similar to the Information filed in Crim. No. 2:11-

22   39.   Both the Indictment and the dismissed Information in Crim.

23   No. 2:11-39 allege that defendant and others conspired to

24   suppress competition by rigging bids to obtain certain properties

25   offered at public real estate auctions in San Joaquin County.2

26
27         2
               The Information in Crim. No. 2:11-39 also charged
     defendant with conspiracy to commit mail fraud, a count which was
28   omitted from the Indictment.
                                     2
      Case 2:17-cr-00189-WBS Document 40 Filed 04/17/18 Page 3 of 7

1    II.   Analysis

2              Defendant’s statute of limitations argument is based on

3    the following progression of sub-arguments: (1) his waiver of

4    indictment in Crim. No. 2:11-39 was based on his plea agreement;

5    (2) because he was allowed to withdraw his guilty plea, the plea

6    agreement is now void; (3) because the plea agreement is void,

7    his waiver of indictment is void; (4) because the waiver of

8    indictment is void, the Information in Crim. No. 2:11-39 is

9    invalid; and (5) because the Information Crim. No. 2:11-39 is

10   invalid, the government cannot rely on 18 U.S.C. § 3288 to indict

11   him after the 5-year statute of limitations imposed by 18 U.S.C.

12   § 3282 has passed.

13             Such arguments misinterpret § 3288.        This section

14   states:

15             Whenever an indictment or information charging a
               felony is dismissed for any reason after the
16             period prescribed by the applicable statute of
               limitations has expired, a new indictment may be
17             returned in the appropriate jurisdiction within
               six calendar months of the date of the dismissal
18             of the indictment or information . . . which new
               indictment shall not be barred by any statute of
19             limitations. This section does not permit the
               filing of a new indictment or information where
20             the reason for the dismissal was the failure to
               file the indictment or information within the
21             period prescribed by the applicable statute of
               limitations, or some other reason that would bar
22             a new prosecution.
23             “The underlying concept of § 3288 is that if the

24   defendant was indicted within time, then approximately the same

25   facts may be used for the basis of any new indictment obtained

26   after the statute has run, if the earlier indictment runs into
27   legal pitfalls.”     United States v. Clawson, 104 F.3d 250, 251

28   (9th Cir. 1996) (quoting United States v. Charnay, 537 F.2d 341,
                                         3
      Case 2:17-cr-00189-WBS Document 40 Filed 04/17/18 Page 4 of 7

1    354 (9th Cir. 1976)) (internal punctuation omitted).         Further, by

2    its express terms, § 3288 applies regardless of whether the

3    original charging document was an indictment or an information.

4              Indeed, § 3288 appears intended to cover the very

5    scenario which has arisen here, where the defendant who was

6    initially charged within the limitations period has successfully

7    moved for dismissal of the charges against him after the

8    limitations period has passed.      See United States v. W.R. Grace,

9    504 F.3d 745, 753-54 (9th Cir. 2007) (§ 3288 “eliminates the

10   incentive for criminal defendants to move for dismissal of an

11   indictment at the end of the statute of limitations, thereby

12   winning dismissal at a time when the government cannot re-indict”

13   but the government must “timely file[] an indictment charging the

14   exact same crimes based on approximately the same facts.”).

15             Here, defendant was initially charged in Crim. No.

16   2:11-39 within the applicable limitations period, and when the

17   Information was dismissed, the government timely filed an

18   indictment less than three months later, as allowed under 18

19   U.S.C. § 3288.   Moreover, defendant does not claim that the

20   Indictment in this case charges him with different crimes or that
21   the Indictment contains different facts than the Information in

22   Crim. No. 2:11-39.    The fact that defendant waived his right to

23   be prosecuted via indictment pursuant to a plea agreement and

24   that he later withdrew his guilty plea in Crim. No. 2:11-39 does

25   not make his indictment in this case untimely.        By its terms, §

26   3288 allows for a new indictment when the initial charging
27   document is dismissed for “any reason,” so long as the initial

28
                                         4
      Case 2:17-cr-00189-WBS Document 40 Filed 04/17/18 Page 5 of 7

1    charging document is timely.3     Thus, the court will deny the

2    Motion based on the plain language of § 3288.

3                 The Seventh Circuit’s decision in United States v.

4    Burdix-Dana, 149 F.3d 741 (7th Cir. 1998), is also instructive on

5    this issue.     The Burdix-Dana court explained that while a court

6    may not accept a guilty plea or proceed to trial on an

7    information absent a waiver of indictment, “the absence of this

8    waiver [does not make] the filing of an information a nullity”

9    because Federal Rule of Criminal Procedure 7(b) does not forbid

10   filing an information without a waiver, but rather only

11   establishes that prosecution may not proceed without a valid

12   waiver.   Id. at 742 (citing United States v. Cooper, 956 F.2d

13   960, 962 (10th Cir. 1992) (statute of limitations defense turns

14   on whether information was filed within the limitations

15   period)).4    Noting that nothing in the statutory language

16        3
               Defendant relies on United States v. Grady, 544 F.2d
     598 (2d Cir. 1976), for the proposition that under § 3288, the
17   statute of limitations is tolled for the purpose of a
     subsequently filed indictment only if the original indictment or
18   information was validly pending prior to the filing of the
     subsequent indictment, and an information is only validly pending
19   if defendant has properly waived indictment. (Mot. Dismiss at 12
     (Docket No. 20).) However, Grady actually held that (1) a
20   superseding indictment may be brought any time where the first
     indictment is validly pending, because the statute of limitations
21   is tolled as to the charges contained in that indictment, and (2)
     § 3288 only comes into play where the indictment has been
22   dismissed and the statute of limitations has already run. Grady
     says nothing about waiver of indictment in connection with §
23   3288.
               Defendant also relies on Charnay, 537 F.2d at 354.
24   While Charnay does quote the legislative history of a prior
     version of § 3288 which mentions waiver of indictment, Charnay
25   itself says nothing about whether a defendant must waive his
     right to an indictment before reindictment is allowed under §
26   3288, nor whether a subsequent withdrawal of a guilty plea
     renders a prior waiver invalid such that § 3288 does not apply.
27
          4
               Rule 7(b) states that “[a]n offense punishable by
28   imprisonment for more than one year may be prosecuted by
                                     5
      Case 2:17-cr-00189-WBS Document 40 Filed 04/17/18 Page 6 of 7

1    suggests that a “prosecution,” rather than the information, must

2    be instituted before the expiration of the 5-year period set

3    forth by 18 U.S.C. § 3282, the court held that the filing of the

4    information is sufficient to institute the action within the

5    statute of limitations.     Id.

6              The Burdix-Dana court ultimately found that where the

7    government filed an information within the limitations period, §

8    3288 allowed the government to file a new indictment after the

9    limitations period had run, so long as “the reason for dismissing

10   the information is other than a failure to institute the

11   information during the limitations period.”        Id. at 743.   But see

12   United States v. Machado, Crim No. 04-10232-RWZ, 2005 WL 2886213

13   (D. Mass. Nov. 3, 2005) (information did not toll statute of

14   limitations unless accompanied by valid waiver of indictment,

15   noting disagreement with Burdix-Dana).

16             Because the Information in Crim. No. 2:11-39 was

17   timely, the government was permitted to file a new indictment

18   within six months from when the Information was dismissed,

19   regardless of whether defendant’s prior waiver of indictment is

20   still valid.   Accordingly, defendant’s motion will be denied.5
21   information if the defendant -- in open court and after being
     advised of the nature of the charge and of the defendant’s rights
22   -- waives prosecution by indictment.”
23             5
                    Although the court need not address the validity
     of defendant’s waiver of indictment, the court finds that the
24   waiver was valid. The court allowed defendant to withdraw his
     guilty plea because the judge who accepted the plea did not
25   advise defendant of his rights to testify, present evidence, and
     compel the attendance of witnesses, and the court was bound by
26   case law stating that “[t]he defendant’s knowledge of [his]
     rights must appear from the record, not from the court’s
27   intuition.” (Docket No. 30 Ex. E.) The deficiencies in the plea
     colloquy had nothing to do with defendant’s waiver of indictment.
28   Although the plea agreement was contingent upon defendant waiving
                                     6
      Case 2:17-cr-00189-WBS Document 40 Filed 04/17/18 Page 7 of 7

1              IT IS THEREFORE ORDERED that defendant’s Motion to

2    Dismiss the Indictment as Violative of the Statute of Limitations

3    (Docket No. 20) be, and the same hereby is, DENIED.

4    Dated:   April 17, 2018

5

6

7

8

9

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26   indictment, the waiver of indictment was not contingent upon
     defendant’s plea being accepted. The waiver of indictment was
27   executed separately and independently of the plea agreement, and
     the evidence in the record indicates that defendant waived his
28   right to indictment knowingly and voluntarily.
                                     7
